









Affirmed and Opinion filed May 16, 2002









Affirmed and Opinion filed May 16, 2002.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-01-00887-CR

____________

&nbsp;

ABBERT GEORGE GATSON, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the 178th District Court

Harris County, Texas

Trial
Court Cause No. 811,723

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

Appellant entered a plea of guilty to the offense of burglary
with intent to commit theft.&nbsp; On May 3,
1999, the trial court placed appellant on deferred adjudication probation for
five years.&nbsp; On April 3, 2000, the State
moved to adjudicate guilt.&nbsp; On May 18,
2000, the trial court sentenced appellant to confinement for two years in the
State Jail Division of the Texas Department of Criminal Justice.&nbsp; Appellant=s appointed counsel filed a notice of
appeal.








Appellant's appointed counsel filed a brief in which he
concludes that the appeal is wholly frivolous and without merit.&nbsp; The brief meets the requirements of Anders
v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967), by
presenting a professional evaluation of the record demonstrating why there are
no arguable grounds to be advanced.&nbsp; See
High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978).

A copy of counsel=s brief was delivered to
appellant.&nbsp; Appellant was advised of the
right to examine the appellate record and file a pro se response.&nbsp; As of this date, no pro se response has been
filed.

We have carefully reviewed the record and counsel=s brief and agree that the appeal is
wholly frivolous and without merit.&nbsp;
Further, we find no reversible error in the record.&nbsp; A discussion of the brief would add nothing
to the jurisprudence of the state.

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Opinion
filed May 16,2002.

Panel consists of Justices Yates,
Seymore, and Guzman.

Do not publish C Tex. R. App. P. 47.3(b).





